             Case 21-51887-pwb                     Doc 1            Filed 03/08/21 Entered 03/08/21 11:48:21                           Desc P
                                                                         Page 1 of 57
 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

 Northern District of Georgia

 Case number (If known):                                         Chapter you are filing undeki 4
                                                                 Er Chapter 7
                                                                 O Chapter 11
                                                                 O Chapter 12


              1                                                  0 Chapter 13                                                   U Check if this is an
                                                                                                                                  amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.



FE          Identify Yourself

                                    About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
   Write the name that is on your
                                     Brian
   government-issued picture
   identification (for example,     First name                                                     First name
   your driver's license or
   passport).                       Middle name                                                    Middle name
   Bring your picture                Morrison
   identification to your meeting   Last name                                                      Last name
   with the trustee.
                                    Suffix (Sr., Jr., II, III)                                     Suffix (Sr., Jr., II, Ill)




2. All other names you
   have used in the last 8          First name                                                     First name
   years
   Include your married or          Middle name                                                    Middle name
   maiden names.
                                    Last name                                                      Last name


                                    First name                                                     First name

                                    Middle name                                                    Middle name

                                    Last name                                                      Last name



                                                                                                                 77,



3. Only the last 4 digits of
                                    )09(     -    xx -7              9      1      1               )0o(     -    xx —
   your Social Security
   number or federal                OR                                                             OR
   Individual Taxpayer
   Identification number            9 xx -        xx -                                             9 xx -        xx -
   (ITIN)

Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                  page 1
            Case 21-51887-pwb                           Doc 1                Filed 03/08/21 Entered 03/08/21 11:48:21                                                 Desc P
                                                                                  Page 2 of 57
Debtor 1
            First Name
                         ctnMiddle Name
                                                     Mor nScY(
                                                       Last Name
                                                                                                                  Case number (if known)


                                                 ,

                                          About Debtor 1:                                                               About Debtor 2 (Spouse Only in a Joint Case):


4. Any business names
   and Employer                                  I have not used any business names or EINs.                            U I have not used any business names or EINs.
   Identification Numbers
   (EIN) you have used in                 BRL Transport
   the last 8 years                       Business name                                                                 Business name
   Include trade names and
   doing business as names                Business name                                                                 Business name

                                            8        3_4           4   7      5        1   8     3
                                          EIN                                                                           EIN


                                          EIN

                          4R195.a.,                        37,1-       11,-4S,761II.                                             (.1.76T1,1.4.1.11'            (TNIGU.,



5. Where you live                                                                                                       If Debtor 2 lives at a different address:



                                          qq,6
                                          Number           Street
                                                                                           atoisap                      Number                        Street




                                      koorena/P
                                          City                                                 State
                                                                                                       3016"
                                                                                                       ZIP Code         City                                              State   ZIP Code


                                          County                                                                        County

                                          If your mailing address is different from the one                             If Debtor 2's mailing address is different from
                                          above, fill it in here. Note that the court will send                         yours, fill it in here. Note that the court will send
                                          any notices to you at this mailing address.                                   any notices to this mailing address.



                                          Number           Street                                                       Number                        Street


                                          P.O. Box                                                                      P.O. Box


                                          City                                                 State   ZIP Code         City                                              State   ZIP Code



6. Why you are choosing                   Check one:                                                                    Check one:
   this district to file for
   bankruptcy                             10 Over the last 180 days before filing this petition,                        U Over the last 180 days before filing this petition,
                                             I have lived in this district longer than in any                             I have lived in this district longer than in any
                                             other district.                                                              other district.

                                          U I have another reason. Explain.                                             U I have another reason. Explain.
                                            (See 28 U.S.C. § 1408.)                                                       (See 28 U.S.C. § 1408.)




 Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                              page 2
            Case 21-51887-pwb                    Doc 1        Filed 03/08/21 Entered 03/08/21 11:48:21                                     Desc P
                                                                   Page 3 of 57
Debtor 1
                         Middle Name             Last Name
                                                                  S61"-)                       Case number (if known)




Part 2:    Tell the Court About Your Bankruptcy Case


7.   The chapter of the                Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you               for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
                                       •   Chapter 7
     under
                                       •   Chapter 11
                                       U Chapter 12
                                       U Chapter 13


8.   How you will pay the fe
                                0      Oi l will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                          local court for more details about how you may pay. Typically, if you are paying the fee
                                          yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                          submitting your payment on your behalf, your attorney may pay with a credit card or check
                                          with a pre-printed address.


                                  Nf1-11eed to pay the fee in installments. If you choose this option, sign and attach the
                                      Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                       •   I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                           By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                           less than 150% of the official poverty line that applies to your family size and you are unable to
                                           pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                           Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9. Have you filed for                  El No
   bankruptcy within the
   last 8 years?                       LI Yes. District                               When                        Case number
                                                                                             MM! DD / YYYY
                                                 District                             When                        Case number
                                                                                             MM! DD / YYYY
                                                District                              When                        Case number
                                                                                             MM! DD / YYYY



15.Are any bankruptcy                  ia No
   cases pending or being
   filed by a spouse who is            U Yes. Debtor                                                               Relationship to you
   not filing this case with                    District                              When                         Case number, if known
   you, or by a business                                                                     MM / DD / YYYY
   partner, or by an
   affiliate?
                                                Debtor                                                             Relationship to you
                                                District                              When                         Case number, if known
                                                                                             MM! DD YYYY



16.Do you rent your                    El No. Go to line 12.
   residence?                          U Yes. Has your landlord obtained an eviction judgment against you?

                                                 U No. Go to line 12.
                                                 U Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                   part of this bankruptcy petition.




 Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                     page 3
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                                                                           Page 4 of 57
Debtor 1
              First Name
                           VtflMiddle Name
                                                    Mocrtson
                                                       Last Name
                                                                                                     Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                RI No. Go to Part 4.
    of any full- or part-time
    business?                                U Yes. Name and location of business
   A sole proprietorship is a
   business you operate as an
   individual, and is not a                           Name of business, if any
   separate legal entity such as
   a corporation, partnership, or
   LLC.                                               Number       Street
   If you have more than one
   sole proprietorship, use a
   separate sheet and attach it
   to this petition.
                                                       City                                                  State            ZIP Code


                                                     Check the appropriate box to describe your business:
                                                      U Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                      U Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                      U Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                      U Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                     U None of the above


13. Are you filing under                     If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                        choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and                     are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
    are you a small business                 most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
                                             if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
    defined by 11 U.S.C. §                      No. I am not filing under Chapter 11.
    1182(1)?                                 U No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
   For a definition of small                       the Bankruptcy Code.
   business debtor, see
   11 U.S.C. § 101(51D).                     U Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                                    Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                             U Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                     Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




 Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
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Debtor 'I
               First Name    Middle Name
                                                      vitson
                                                  Last Name
                                                                                               Case number (if known)



  Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any                  No
      property that poses or is
      alleged to pose a threat             U Yes. What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                   If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                   Where is the property?
                                                                            Number        Street




                                                                            City                                        State   ZIP Code




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                           page 5
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                                                                        Page 6 of 57
Debtor 1       66c1n
              First Name     Middle Name
                                                           Ornson
                                                     Last Name
                                                                                                        Case number (if known)




Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling


                                           About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
   you have received a
   briefing about credit                   You must check one:                                                 You must check one:
   counseling.
                                              I received a briefing from an approved credit                    U I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
   The law requires that you                  filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
   receive a briefing about credit            certificate of completion.                                         certificate of completion.
   counseling before you file for
                                              Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
   bankruptcy. You must
                                              plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
   truthfully check one of the
   following choices. If you                  I received a briefing from an approved credit                    •   I received a briefing from an approved credit
   cannot do so, you are not                  counseling agency within the 180 days before I                       counseling agency within the 180 days before I
   eligible to file.                          filed this bankruptcy petition, but I do not have a                  filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                           certificate of completion.
    If you file anyway, the court                                                                                  Within 14 days after you file this bankruptcy petition,
                                              Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you                                                                                     you MUST file a copy of the certificate and payment
                                              you MUST file a copy of the certificate and payment
    will lose whatever filing fee             plan, if any.                                                        plan, if any.
    you paid, and your creditors
    can begin collection activities           I certify that I asked for credit counseling                     •    certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                            services from an approved agency, but was
                                              unable to obtain those services during the 7                         unable to obtain those services during the 7
                                              days after! made my request, and exigent                             days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                        circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                  of the requirement.

                                              To ask for a 30-day temporary waiver of the                          To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                      requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                    what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                    you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                           bankruptcy, and what exigent circumstances
                                              required you to file this case.                                      required you to file this case.
                                              Your case may be dismissed if the court is                           Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                   dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                            briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must                If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.              still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                        You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                    agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                    developed, if any. If you do not do so, your case
                                              may be dismissed.                                                    may be dismissed.
                                              Any extension of the 30-day deadline is granted                      Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                     only for cause and is limited to a maximum of 15
                                              days.                                                                days.

                                           CI I am not required to receive a briefing about                    O I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                              GI   Incapacity.   I have a mental illness or a mental                O Incapacity.     I have a mental illness or a mental
                                                                 deficiency that makes me                                             deficiency that makes me
                                                                 incapable of realizing or making                                     incapable of realizing or making
                                                                 rational decisions about finances.                                   rational decisions about finances.
                                              U Disability.      My physical disability causes me                   •   Disability.   My physical disability causes me
                                                                 to be unable to participate in a                                     to be unable to participate in a
                                                                 briefing in person, by phone, or                                     briefing in person, by phone, or
                                                                 through the internet, even after I                                   through the internet, even after I
                                                                 reasonably tried to do so.                                           reasonably tried to do so.
                                                   Active duty. I am currently on active military                   CI Active duty.   I am currently on active military
                                                                 duty in a military combat zone.                                      duty in a military combat zone.
                                              If you believe you are not required to receive a                     If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                    briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.               motion for waiver of credit counseling with the court.




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 Debtor 1
              First Name   Middle Name
                                                   LeTnrriSOr)                                      Case number (if known)




 Part 6:    Answer These questions for Reporting Purposes

                                         16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
 16.What kind of debts do                     as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                              U No. Go to line 16b.
                                              O Yes. Go to line 17.

                                         16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                              U No. Go to line 16c.
                                              U Yes. Go to line 17.

                                         16c. State the type of debts you owe that are not consumer debts or business debts.



 17.Are you filing under
    Chapter 7?                           U No. I am not filing under Chapter 7. Go to line 18.

     Do you estimate that after 0 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
     any exempt property is            administrative expenses are paid that funds will be available to distribute to unsecured creditors?
     excluded and                      0 No
     administrative expenses
     are paid that funds will be       U Yes
     available for distribution
    _to. unsecured _creditors?
 18.How many creditors do                id 1-49                                 U 1,000-5,000                               U 25,001-50,000
    you estimate that you                U 50-99                                 U 5,001-10,000                              U 50,001-100,000
    owe?                                 U 100-199                               U 10,001-25,000                             U More than 100,000
                                         U 200-999
                                                                             j                       F


 19.How much do you                         $0-$50,000                              $1,000,001-$10 million                     $500,000,001-$1 billion
    estimate your assets to                 $50,001-$100,000                        $10,000,001-$50 million                    $1,000,000,001-$10 billion
    be worth?                               $100,001-$500,000                       $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                            $500,001-$1 million                     $100,000,001-$500 million                U More than $50 billion
                                                                                                       —
 20.How much do you                         $0-$50,000                           U $1,000,001-$10 million                      $500,000,001-$1 billion
    estimate your liabilities               $50,001-$100,000                       $10,000,001-$50 million                     $1,000,000,001-$10 billion
    to be?                                  $100,001-$500,000                      $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                            $500,001-$1 million                    $100,000,001-$500 million                 U More than $50 billion
 Part 7:    Sign Below

                                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and
, For you                                correct.
                                         If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                         of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                         under Chapter 7.
                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                         I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                            • erstand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                         with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                         18     .C. §§ 1   1341, 1519, and 3571.



                                              gnature of Debtor 1                                           Signature of Debtor 2

                                            Executed on             —)       ZC9                            Executed on
                                                           MM / DD / YYYY                                                    MM / DD   / YYYY


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Debtor 1
             First ame
                         n
                         Middle Name
                                             () i nson
                                                  Last
                                                                                                  Case number (if known)




                                       I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are          to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                     available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                       the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented             knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                                                                                           Date
                                          Signature of Attorney for Debtor                                                 MM    /    DD / YYYY




                                          Printed name


                                          Firm name


                                          Number         Street




                                          City                                                            State            ZIP Code




                                          Contact phone                                                   Email address




                                          Bar number                                                      State




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Debtor            12_al
             First Name   Middle Name
                                        `in_9(                    0in                          Case number (if known)




For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                   should understand that many people find it extremely difficult to represent
attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                        consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                  To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                  technical, and a mistake or inaction may affect your rights. For example, your case may be
                                         dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                         hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                         firm if your case is selected for audit. If that happens, you could lose your right to file another
                                         case, or you may lose protections, including the benefit of the automatic stay.
                                        You must list all your property and debts in the schedules that you are required to file with the
                                        court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                        in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                        property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                        also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                        case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                        cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                        Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                        If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                        hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                        successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                        Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                        be familiar with any state exemption laws that apply.

                                         Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                         consequences?
                                        U No
                                        'f6 Yes

                                        Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                        inaccurate or incomplete, you could be fined or imprisoned?
                                        U No
                                         qc Yes

                                         Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                        )4 No
                                        U Yes. Name of Person
                                               Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                        By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                        have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                        attorney may cause me to lose my rights or property if I do not properly handle the case.



                                                             tAA,
                                          Sigr(ature
                                                 4 of Debtor 1                                           Signature of Debtor 2
                                        ../-
                                        Date                     O Ca   1-62-1                           Date
                                                         M / DD    / YYYY                                                MM / DD / YYYY

                                        Contact phon    '7)c)) C6co              S 76-                   Contact phone

                                        Cell phone                                (2._[                  Cell phone

                                        Email address                                     o'             Email address



 Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                   page 9

         Print                          ave AP-                         d Attachment
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                                                                         Page 10 of 57
  Fill in this information to identify your case:

   Debtor 1          Brian Morrison
                        First Name              Middle Name               Last Name

   Debtor 2
   (Spouse, if filing) First Name               Middle Name               Last Name


   United States Bankruptcy Court for the: Northern District of Georgia

   Case number
   (If known)                                                                                                                         U Check if this is an
                                                                                                                                        amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                   04/19

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

        U Married
             Not married


   2. During the last 3 years, have you lived anywhere other than where you live now?
          No
        U Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                                                                    Dates Debtor                                                           Dates Debtor 2
                                                                    lived there                                                            lived there


                                                                                      U Same as Debtor 1                                  U Same as Debtor 1

                 795 Hiram Davis                                           06/2018
                                                                   From                                                                      From
                 Number  Street                                                          Number Street
                                                                    To     Current                                                           To


                  Lawrenceville               GA      30045
                 City                         State ZIP Code                             City                      State ZIP Code

                                                                                      U Same as Debtor 1                                  U Same as Debtor 1

                                                                    From                                                                     From
                 Number              Street                                              Number Street
                                                                    To                                                                       To




                 City                         State ZIP Code                             City                      State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        U No
        U Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



   Part 2: Explain the Sources of Your Income

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                        page 1
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Debtor 1        Brian Morrison                                                                                 Case number (irknown)
                First Name      Middle Name          Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     CI    No
     El Yes. Fill in the details.


                                                               Sources of income            Gross income                 Sources of income          Gross income
                                                               Check all that apply.        (before deductions and       Check all that apply.      (before deductions and
                                                                                            exclusions)                                             exclusions)

           From January 1 of current year until
                                                                0 Wages, commissions,                      6528.83         I Wages, commissions,
                                                                     bonuses, tips                                           bonuses, tips
           the date you filed for bankruptcy:
                                                                  I Operating a business                                   I Operating a business

           For last calendar year:
                                                                0 Wages, commissions,                                      I Wages, commissions,
                                                                     bonuses, tips                           39,173          bonuses, tips
           (January Ito December 31           2020        )     0    Operating a business                                  I Operating a business
                                              YYYY



           For the calendar year before that:
                                                                CI Wages, commissions,                                   CI Wages, commissions,
                                                                     bonuses, tips                           39,173           bonuses, tips
                                                          ) Li Operating a                      $                                                   $
           (January 1 to December 31, 2019                                       business                                CI Operating a business
                                      YYYY



  5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     L' No
           Yes. Fill in the details.

                                                              , , Debtor'',1
                                                                Sources of income               Gross income from          Sources of income        Gross income from
                                                                Describe below.                 each source                Describe below.          each source
                                                                                                (before deductions and                              (before deductions and
                                                                                                exclusions)                                         exclusions)



            From January 1 of current year until
            the date you filed for bankruptcy:




            For last calendar year:

            (January 1 to December 31 2020           )
                                              YYYY




            For the calendar year before that:                                              $                                                       $

            (January 1 to December 31 2 019          )                                      $                                                       $
                                              YYYY
                                                                                            $                                                       $




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Debtor 1      Brian Morrison                                                                       Case number (if known)
               First Name        Middle Name           Last Name



 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 S. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

     U     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               U No. Go to line 7.

               U Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                      total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                      child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     U     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               U    No. Go to line 7.

               U Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                      creditor. Do not include payments for domestic support obligations, such as child support and
                      alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                        Dates of    Total amount paid          Amount you atilt owe   Was this payment for...
                                                                        payment


                                                                                                                                      U Mortgage
                       Creditor's Name
                                                                                                                                      U Car

                      Number     Street                                                                                               U Credit card

                                                                                                                                      U Loan repayment

                                                                                                                                      CI Suppliers or vendors
                                               State        ZIP Code                                                                  U Other
                       City



                                                                                                                                      U Mortgage
                       Creditor's Name
                                                                                                                                      U Car

                                                                                                                                      U Credit card
                       Number    Street
                                                                                                                                      U Loan repayment

                                                                                                                                      U Suppliers or vendors

                                                                                                                                      U Other
                       City                    State        ZIP Code




                                                                                                                                      CI Mortgage
                       Creditor's Name
                                                                                                                                      U Car

                                 Street                                                                                               U Credit card
                       Number
                                                                                                                                      CI Loan repayment
                                                                                                                                      U Suppliers or vendors

                                                                                                                                      U Other
                       City                    State        ZIP Code




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Debtor 1      Brian Morrison                                                                        Case number (inflow])
                  First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
    such as child support and alimony.

     Ei No
     0 Yes. List all payments to an insider.
                                                                       Dates of      Total amount      Amount you still     Reason for this payment
                                                                       payment       paid              owe


           Insider's Name



           Number        Street




           City                                 State   ZIP Code




           Insider's Name


           Number        Street




           City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
    an insider?
    Include payments on debts guaranteed or cosigned by an insider.

     El No
     0 Yes. List all payments that benefited an insider.
                                                                      Dates of                         Amount you still Reason for this payment
                                                                      payment                          owe              Include creditors name


           Insider's Name



           Number        Street




           City                                 State   ZIP Code




           Insider's Name



           Number        Street




           City                                 State   ZIP Code




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Debtor 1        Brian Morrison                                                                              Case number (if known)
                First Name          Middle Name           Last Name



  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
    and contract disputes.

     g     No
     U     Yes. Fill in the details.
                                                                 Nature of the case                   Court or agency                              Status of the case


                                                                                                                                                   U Pending
            Case title                                                                             ;Court Name
                                                                                                                                                   U   On appeal

                                                                                                    Number      Street                             U Concluded

            Case number
                                                                                                    City                      State   ZIP Code



                                                                                                                                                   U Pending
            Case title                                                                              Court Name
                                                                                                                                                   U On appeal

                                                                                                    Number      Street                             U Concluded

            Case number
                                                                                                    !City                     State   ZIP Code


  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     El No. Go to line 11.
     U     Yes. Fill in the information below.

                                                                           Describe the property                                                       of the property




                 Creditor's Name


                 Number      Street                                        Explain what happened

                                                                           U    Property was repossessed.
                                                                           U    Property was foreclosed.
                                                                           U    Property was garnished.
                 City                             State   ZIP Code         U    Property was attached, seized, or levied.

                                                                           Describe the property                                                  Value of the propertl




                  Creditor's Name


                  Number     Street


                                                                            U   Property was repossessed.
                                                                            U   Property was foreclosed.
                                                                            U   Property was garnished.
                  City                            State   ZIP Code
                                                                            U   Property was attached, seized, or levied.




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                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?

     El No
     U Yes. Fill in the details.

                                                                 Describe the action the creditor took                            Date action       Amount
                                                                                                                                  was taken
           Creditor's Name



           Number     Street




           City                           State   ZIP Code       Last 4 digits of account number: )000(—


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?

     •     No
     U     Yes


  Part 5:         List Certain Gifts and Contributions


  is. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     id    No
     U     Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600                                                                            Dates you gave
            per person                                                                                                            the gifts




           Person to Whom You Gave the Gift




           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600            Describe the gifts                                               Dates you gave
           per person                                                                                                             the gifts



           Person to Whom You Gave the Gift




           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


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                   First Name     Middle Name                Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     RI No
     U Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                     Describe what you contributed                                         Date you          Value
            that total more than $600                                                                                                     contributed




           Chanty's Name




           Number       Street




           City           State        ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     Dif No
     U Yes. Fill in the details.

            Describe the property you lost and                       Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                         loss              lost
                                                                     Include the amount that insurance has paid. List pending insurance
                                                                     claims on line 33 of Schedule IVB: Property.




rffil             List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     •     No
     U Yes. Fill in the details.

                                                                     Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                          transfer was
            Person Who Was Paid                                                                                                           made


            Number       Street




            City                         State    ZIP Code



            Email or website address


            Person Who Made the Payment, if Not You



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Debtor 1       Brian Morrison                                                                                Case number (If known)
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                 Date payment or     Amount of
                                                                                                                                      transfer was made   payment

            Person Who Was Paid



            Number       Street




            City                        State    ZIP Code




            Email or website address



            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     U No
     •     Yes. Fill in the details.
                                                                    Description and value of any property transferred                 Date payment or
                                                                                                                                      transfer was

            Person Who Was Paid



            Number        Street




            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     Er No
     O Yes. Fill in the details.
                                                                    Description and value of property        Describe any property or payments received     Date transfer
                                                                    transferred                              or debts paid in exchange                      was made

            Person Who Received Transfer



            Number        Street




            City                        State    ZIP Code


            Person's relationship to you


            Person Who Received Transfer


            Number        Street




            City                        State    ZIP Code

            Person's relationship to you

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Debtor 1        Brian Morrison                                                                               Case number (if known)
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     ki No
     ZI Yes. Fill in the details.

                                                                   Description and value of the property transferred                                               Date transfer
                                                                                                                                                                   was made


           Name of trust




                                                                                                                                                             L-1


                List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     Er No
     El Yes. Fill in the details.

                                                                   Last 4 digits of account number     Type of account or             Date account was       Last balance before
                                                                                                       instrument                     closed, sold, moved,   closing or transfer
                                                                                                                                      or transferred

            Name of Financial Institution
                                                                                                       U Checking

            Number       Street                                                                        U Savings

                                                                                                       U Money market

                                                                                                       U Brokerage
            City                       State    ZIP Code
                                                                                                       U Other


                                                                   )000C—                              U Checking
            Name of Financial Institution
                                                                                                       U Savings

            Number       Street                                                                        U Money market

                                                                                                       U Brokerage

                                                                                                       U Other
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
           No
     El Yes. Fill in the details.
                                                                   Who else had access to it?                      Describe the contents                               Do you still
                                                                                                                                                                       have it?

                                                                                                                                                                     ! El No
            Name of Financial Institution                         Name
                                                                                                                                                                       El Yes


            Number       Street                                   Number    Street



                                                                  City        State     ZIP Code

            City                      State     ZIP Code



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Debtor 1          Brian Morrison                                                                                       Case number (if known)
                   First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    El No
    U Yes. Fill in the details.
                                                                    Who else has or had access to it?                        Describe the contents              Do you still
                                                                                                                                                                have it?

                                                                                                                                                                LI No
            Name of Storage Facility                                Name
                                                                                                                                                               I Li Yes

            Number       Street                                     Number    Street



                                                                    CityState ZIP Code


            City                        State     ZIP Code



                     Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     El No
     LI Yes. Fill in the details.
                                                                   Where is the property?                                    Describe the property         Value


            Owner's Name                                                                                                                                   $

                                                                   Number    Street
            Number        Street




                                                                  City                            State     ZIP Code
            City                        State     ZIP Code


  Part 10:           Give Details About Environmental Information

  For the purpose of Part 10, the following definitions apply:
  a Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  a Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
    utilize it or used to own, operate, or utilize it, including disposal sites.

  a Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

     El No
     LI Yes. Fill in the details.
                                                                    Governmental unit                           .Environmental law, if you know it.       Date of notice



           Name of site                                            Governmental unit


           Number       Street                                     Number    Street


                                                                   City                  State   ZIP Code



           City                        State     ZIP Code




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Debtor 1
                  Brian Morrison                                                                                        Case number (if known)
                      First Name      Middle Name          Last Name




 25. Have you           notified any governmental unit of any release of hazardous material?

     Et No
     ▪     Yes. Fill in the details.
                                                                  Governmental unit                                 Environmental law, if you know it                     Date of notice



               Name of site                                      Governmental unit


               Number        Street                              Number       Street



                                                                 City                    State    ZIP Code


               City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     El    No
     LI Yes. Fill in the details.
                                                                                                                                                                           Status of the
                                                                       Court or agency                                   Nature of the case
                                                                                                                                                                           case

           Case title
                                                                                                                                                                           O Pending
                                                                       Court Name
                                                                                                                                                                           U On appeal
                                                                     Number     Street                                                                                     U Concluded


           Case number                                                 City                      State   ZIP Code



  Part 11:              Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           El A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           •     A member of a limited liability company (LLC) or limited liability partnership (LLP)
           LI A partner in a partnership
           53 An officer, director, or managing executive of a corporation

           O An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
     1:1 Yes. Check all that apply above and fill in the details below for each business.
                                                                       Describe the nature of the business                               Employer Identification number
               BRL Transport
                                                                                                                                         Do not include Social Security number or ITIN.
               Business Name
                                                                     Transportation
                                                                                                                                         EIN:    8 3 z       4    4   7     5 1      8
               Number        Street
                                                                       Name of accountant or bookkeeper                                  Dates business existed

                                                                     Price Accounting Firm
                                                                     J Price                                                             From               To
               City                        State    ZIP Code

                                                                       Describe the nature of the business                               Employer Identification number
                                                                                                                                         Do not include Social Security number or ITIN.
               Business Name                                     1

                                                                                                                                       I EIN:
               Number        Street
                                                                       Name of accountant or bookkeeper                                  Dates business existed


                                                                                                                                         From               To
               City                        State    ZIP Code


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                   First Name       Middle Name              Last Name




                                                                                                                               Employer Identification number
                                                                     Describe the nature of the business
                                                                                                                               Do not include Social Security number or ITIN.
            Business Name

                                                                                                                             ' EIN:

            Number        Street
                                                                     Name of accountant or bookkeeper                          Dates business existed



                                                                                                                               From                To
            City                         State    ZIP Code



                                                                                                                                                                           v•



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

     El    No
     U Yes. Fill in the details below.

                                                                     Date issued



            Name                                                     MM I DD / YYYY



            Number       Street




           City                          State    ZIP Code




                   Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U         152, 1341, 1519, and 3571.




            ignature of Debtor 1                                                       Signature of Debtor 2


           Date3                E                                                      Date
      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      LI    No
      F      Yes



     D'.d you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
     ..
    (No
      U Yes. Name of person                                                                                          . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                       Declaration, and Signature (Official Form 119).




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            .rtn.                                 avO                                 d AttioliMent
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Fill in this information to identify your case and this filing:


Debtor1             Brian                                          Morrison
                    First Name                   Middle Name                Last Name

Debtor 2
(Spouse, if filing) First Name                   Middle Name                Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number
                                                                                                                                             U Check if this is an
                                                                                                                                               amended filing

 Official Form 106A/B

Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
    O No. Go to Part 2.
    O Yes. Where is the property?
                                                                     What is the property? Check all that apply.
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                     Id Single-family home                             the amount of any secured claims on Schedule D:
      1.1.
              795 Hiram Davis RD                                                                                       Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description
                                                                     CI    Duplex or multi-unit building
                                                                     O Condominium or cooperative                      Current value of the     Current value of the
                                                                     O Manufactured or mobile home                     entire property?         portion you own?
                                                                     •     Land                                               204,300.00              212,956.54
                                                                     O Investment property
              Lawrenceville                  GA        30045
                                                                     O Timeshare                                       Describe the nature of your ownership
             City                            State      ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                     CI    Other
                                                                                                                       the entireties, or a life estate), if known.
                                                                     Who has an interest in the property? Check one.

              Gwinett                                                ad Debtor 1 only
             County                                                  U Debtor 2 only
                                                                     0 Debtor 1 and Debtor 2 only                      1:1 Check if this is community property
                                                                                                                           (see instructions)
                                                                     CI At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:
   If you own or have more than one, list here:
                                                                   What is the property? Check all that apply.
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                    O Single-family home                               the amount of any secured claims on Schedule a
      1.2.                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                    O Duplex or multi-unit building
             Street address, if available, or other description
                                                                    O Condominium or cooperative                       Current value of the     Current value of the
                                                                    CI    Manufactured or mobile home                  entire property?         portion you own?
                                                                    O Land
                                                                    O Investment property
                                                                    CI    Timeshare                                    Describe the nature of your ownership
             City                            State      ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                    O Other                                            the entireties, or a life estate), if known.
                                                                   Who has an interest in the property? Check one
                                                                    0    Debtor 1 only
             County                                                CI Debtor 2 only
                                                                    0    Debtor 1 and Debtor 2 only                    0   Check if this is community property
                                                                   LI At least one of the debtors and another              (see instructions)

                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:


Official Form 106A/B                                                Schedule A/B: Property                                                              page 1
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Debtor 1          Brian                                      MorrisonPage 23 of 57 Case number (if knovvn)
                  First Name     Middle Name            Last Name




                                                                    What is the-property? Check all that-apply.       Do not deduct secured claims or exemptions-Put
                                                                    U Single-family home                              the amount of any secured claims on Schedule D:
    1.3.                                                                                                              Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description       0     Duplex or multi-unit building
                                                                    O Condominium or cooperative                      Current value of the     Current value of the
                                                                                                                      entire property?         portion you own?
                                                                    U     Manufactured or mobile home
                                                                    LI    Land
                                                                    O Investment property
           City                            State     ZIP Code       U     Timeshare                                   Describe the nature of your ownership
                                                                                                                      interest (such as fee simple, tenancy by
                                                                    •     Other                                       the entireties, or a life estate), if known.

                                                                    Who has an interest in the property? Check one.
                                                                          Debtor 1 only
           County
                                                                    U Debtor 2 only
                                                                    CI Debtor 1 and Debtor 2 only                     U Check if this is community property
                                                                                                                         (see instructions)
                                                                    CI At least one of the debtors and another
                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                     212,956.54
   you have attached for Part 1. Write that number here.                                                                                4




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   LI No
   El Yes


   3.1.    Make:                        Mitsubishi                  Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
           Model:                       Outlander                   kl Debtor 1 only
                                                                                                                      Creditors Who Have Claims Secured by Properly.
                                        2016                        0 Debtor 2 only
           Year:                                                                                                      Current value of the      Current value of the
                                        111,321
                                                                    U Debtor 1 and Debtor 2 only                      entire property?          portion you own?
           Approximate mileage:                                     0 At least one of the debtors and another
           Other information:
                                                                                                                                     2870       $               4016
                                                                    0 Check if this is community property (see
                                                                          instructions)



   If you own or have more than one, describe here:

           Make:                                                    Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
   3.2.
                                                                                                                      the amount of any secured claims on Schedule D:
           Model:                                                         Debtor 1 only
                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                          Debtor 2 only
           Year:                                                                                                      Current value of the      Current value of the
                                                                    0 Debtor 1 and Debtor 2 only                      entire property?          portion you own?
           Approximate mileage:                                     U At least one of the debtors and another
           Other information:
                                                                    U Check if this is community property (see
                                                                      instructions)




Official Form 106A/B                                                    Schedule A/B: Property                                                         page 2
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Debtor 1         Brian                                         Morrison Page 24 of 57                Case number Of know))
                 First Name       Middle Name      Last Name




            Make:                                               Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
    3.3.
                                                                                                                        the amount of any secured claims on schedule a
            Model:
                                                                CI Debtor 1 only                                        Creditors Who Have Claims Secured by Properly
                                                                0 Debtor 2 only
            Year:                                                                                                       Current value of the      Current value of the
                                                                0 Debtor 1 and Debtor 2 only                            entire property?          portion you own?
            Approximate mileage:                                0 At least one of the debtors and another
            Other information:
                                                                CI Check if this is community property (see
                                                                    instructions)


            Make:                                               Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
    3.4.
                                                                                                                        the amount of any secured claims on Schedule D:
            Model:
                                                                CI Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
                                                                CI Debtor 2 only
            Year:                                                                                                       Current value of the      Current value of the
                                                                0 Debtor 1 and Debtor 2 only                            entire property?          portion you own?
            Approximate mileage:                                0 At least one of the debtors and another
            Other information:
                                                                0   Check if this is community property (see
                                                                    instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
    0      Yes


            Make:                                               Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
    4.1.
                                                                                                                        the amount of any secured claims on Schedule D:
            Model:                                              CI Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
                                                                CI Debtor 2 only
            Year:
                                                                0 Debtor 1 and Debtor 2 only                            Current value of the      Current value of the
             Other information:                                 L3 At least one of the debtors and another              entire property?          portion you own?


                                                                0 Check if this is community property (see
                                                                    instructions)



    If you own or have more than one, list here:

             Make:                                              Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
    4.2.
                                                                                                                        the amount of any secured claims on Schedule D:
             Model:                                             CI Debtor 'I only                                       Creditors Who Have Claims Secured by Property.
                                                                CI Debtor 2 only
             Year:                                                                                                      Current value of the      Current value of the
                                                                0 Debtor 1 and Debtor 2 only                            entire property?          portion you own?
             Other information:                                 0 At least one of the debtors and another

                                                                0 Check if this is community property (see
                                                                    instructions)




5   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
    you have attached for Part 2. Write that number here                                                                                   4




 Official Form 106A/B                                            Schedule A/B: Property                                                                   page 3
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 Debtor 1      Brian                                  MorrisonPage 25 of 57 Case number (if known)
               First Name     Middle Name         Last Name




AZI         1Ws_ciLbe"four Personal and Howseholdems

 Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                               Current value of the
                                                                                                                               portion you own?
                                                                                                                               Do not deduct secured claims
                                                                                                                               or exemptions
 6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    U No                                                                                                                       7
    • Yes. Describe           [2300


 7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
              collections; electronic devices including cell phones, cameras, media players, games
    LI No
    El Yes. Describe          800

 8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    10 No
    CI Yes. Describe

 9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
              and kayaks; carpentry tools; musical instruments
    El No
    O Yes. Describe


 10.Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    id No
    CI Yes. Describe

 11.Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    CI No
    El Yes. Describe          1500


 12.Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
    U No
    10 Yes. Describe
                             1 200
 13. Non-farm animals
    Examples: Dogs, cats, birds, horses

    RI No
    O Yes. Describe


 14. Any other personal and household items you did not already list, including any health aids you did not list

    El No
    CI Yes. Give specific
       information.

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                    4,800
     for Part 3. Write that number here                                                                                    4


 Official Form 106A/B                                         Schedule A/B: Property                                                        page 4
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Part 4: —Describe-Your-Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured claims
                                                                                                                                    or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   U No
   id Yes                                                                                                     Cash:                                   78.16


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accounts with the same institution, list each.
   U No
   R1 Yes                                                       Institution name:


                             17.1. Checking   account:          Navy Federal                                                                    O
                             17.2. Checking   account:

                             17.3. Savings   account:

                             17.4. Savings account:

                             17.5. Certificates of deposit:

                             17.6. Other financial account:

                             17.7. Other financial account:

                             17.8. Other financial account:

                             17.9. Other financial account:




18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   id No
   U Yes                     Institution or issuer name:




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture

   id No                     Name of entity:                                                                  % of ownership:
   U Yes. Give specific
      information about
      them




 Official Form 106A/B                                          Schedule A/B: Property                                                             page 5
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20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   El No
   U Yes. Give specific       Issuer name:
     information about
     them




21.Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   El No
   LI Yes. List each
      account separately. Type of account:               Institution name:

                              401(k) or similar plan:

                              Pension plan:

                              IRA:

                              Retirement account:

                              Keogh:

                              Additional account:

                              Additional account:



22.Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   ▪   No
   U Yes                                            Institution name or individual:
                              Electric:

                              Gas:

                              Heating oil:

                              Security deposit on rental unit:
                              Prepaid rent:

                              Telephone:

                              Water:
                             Rented furniture:

                              Other:



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   El No
   U Yes                      Issuer name and description:




Official Form 106A/B                                              Schedule A/B: Property                                              page 6
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Debtor 1     Brian                                          Morrison Page 28 of 57              Case number (ithnown)
              First Name     Wale Name          Last Name




 4. Interests in an education IRA, in an account-in a qualified ABLEprogram, or under a qualified state tuition program.
     26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   U No
   U Yes                            Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit

   la No
   U Yes. Give specific
     information about them....


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   El No
   U Yes. Give specific
     information about them....


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   El No
   U Yes. Give specific
     information about them....


Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you
   Id   No
   U Yes. Give specific information                                                                              Federal:
          about them, including whether
          you already filed the returns                                                                          State:
          and the tax years.
                                                                                                                Local:


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   El No
   U Yes. Give specific information
                                                                                                               Alimony:
                                                                                                                Maintenance:
                                                                                                                Support:
                                                                                                                Divorce settlement:
                                                                                                                Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
   El No
   U Yes. Give specific information




Official Form 106A/B                                         Schedule NB: Property                                                                 page 7
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3T71iTterests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (NSA); credit, homeowner's, or renter's insurance
   El No
   O Yes. Name the insurance company           Company name:                                               Beneficiary:                              Surrender or refund value:
          of each policy and list its value...




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
   •    No
    O Yes. Give specific information


33.Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   itl No
   CI Yes. Describe each claim

34.Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   RI No
    O Yes. Describe each claim




35. Any financial assets you did not already list

   101 No
   O Yes. Give specific information



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here                                                                                                    4                            78.16



Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.Do you own or have any legal or equitable interest in any business-related property?
   la No. Go to Part 6.
   CI   Yes. Go to line 38.
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                   or exemptions.

38.Accounts receivable or commissions you already earned
   •    No
   O Yes. Describe


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   LI No
   O Yes. Describe




 Official Form 106A/I3                                           Schedule A/B: Property                                                                          page 8
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Debtor 1        Brian                                 MorrisonPage 30 of 57 Case number (if/mown)
                First Name   Middle Name          Last Name




40._Machinery,fixtures, equipment, supplies_you_use in business, and tools of_youLtrade

   10 No
   CI   Yes. Describe



41. Inventory
       ' No
   0    Yes. Describe



42. Interests in partnerships or joint ventures
   Ef No
   CI Yes. Describe          Name of entity:                                                            % of ownership:




43. Customer lists, mailing lists, or other compilations
    2 No
    U Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
             U No
             O Yes. Describe.



44.Any business-related property you did not already list
   2 No
   CI   Yes. Give specific
        information




45.Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                       0
   for Part 5. Write that number here




Part 6:      Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   • No. Go to Part 7.
   O Yes. Go to line 47.
                                                                                                                          Current value of the
                                                                                                                          portion you own?
                                                                                                                          Do not deduct secured claims
                                                                                                                          or exemptions
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   2    No
   O Yes




Official Form 106A/B                                          Schedule A/B: Property                                                   page 9
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 Debtor 1     Brian                                 MorrisonPage 31 of 57 Case number (If known)
               First Name     Middle Name       Last Name




48. Crops—either growing or harvested
    a No
    U Yes. Give specific
      information.

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
    a No
    U Yes

                                                                                                                                $
50. Farm and fishing supplies, chemicals, and feed
    a No
    U Yes

                                                                                                                                $
51. Any farm- and commercial fishing-related property you did not already list
    a No
    U Yes. Give specific
       information.
                                                                                                                                $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                       0
    for Part 6. Write that number here



Part 7:      Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

   a No
   U Yes. Give specific
     information.




54. Add the dollar value of all of your entries from Part 7. Write that number here                                                              0



Part 8:     List the Totals of Each Part of this Form


55.Part 1: Total real estate, line 2                                                                                                212,956.54
                                                                                                                               $

56.Part 2: Total vehicles, line 5                                                     4016


57.Part 3: Total personal and household items, line 15                                4800

58.Part 4: Total financial assets, line 36                                            78.16


59.Part 5: Total business-related property, line 45                                      0

60.Part 6: Total farm- and fishing-related property, line 52                             0


61.Part 7: Total other property not listed, line 54                    +$                0


62.Total personal property. Add lines 56 through 61.                            8,894.16      Copy personal property total 4   +$    8,894.16


63.Total of all property on Schedule A/B. Add line 55 + line 62                                                                     221,850.70



Official Form 106A/B                                        Schedule A/B: Property                                                     page 10
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                                                                            Page 32 of 57
 Fill in this information to identify your case:

 Debtor 1          Brian             Morrison
                    First Name                     Middle Name               Last Name

 Debtor 2
 (Spouse, if filing) First Name                    Middle Name               Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
  (If known)
                                                                                                                                               0   Check if this is an
                                                                                                                                                   amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule NB: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      0 You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule NB that you claim as exempt, fill in the information below.


       Brief description of the property and line on             Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
       Schedule NB that lists this property                      portion you own
                                                                 Copy the value from     Check only one box for each exemption.
                                                                 Schedule NB

      Brief
                              Primary Residence                  $ 212,956.54            Us                                       .11 U.S. Code § 522 (b)(2)
      description:
     Line from                                                                           id 100% of fair market value, up to
     Schedule NB:             1 .1                                                          any applicable statutory limit

      Brief                                                                                                                       .11 U.S. Code § 522 (b)(2)
      description:
                              Car                                  4016                  Us
     Line from                                                                           0 100% of fair market value, up to
     Schedule NB:                                                                           any applicable statutory limit

     Brief                    Household Goods & Colthes                                                                           .11 U.S. Code § 522 (b)(2)
     description:
                                                                 $ 4800                  Us
     Line from                                                                           CI 100% of fair market value, up to
     Schedule A/B•            15                                                            any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     ler No
     CI   Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          El No
          CI      Yes



Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                          page 1 of
            Case 21-51887-pwb                      Doc 1     Filed 03/08/21 Entered 03/08/21 11:48:21                            Desc P
             Brian  Morrison                                      Page 33 of 57    number (if known)
Debtor 1                                                                                     Case
             First Name     Middle Name        Last Name




 Part 2:    Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule A/B

     Brief
     description:                                                              Us
     Line from                                                                O 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit

     Brief
     description:
     Line from                                                                U 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit


     Brief
     description:                                                             Us
     Line from                                                                O 100% of fair market value, up to
     Schedule A/B:                                                              any applicable statutory limit

     Brief
     description:                                                              Us
     Line from                                                                O 100% of fair market value, up to
     Schedule A/B:                                                              any applicable statutory limit

     Brief
     description:                                                              Us
     Line from                                                                O 100% of fair market value, up to
     Schedule A/B:                                                              any applicable statutory limit


     Brief
     description:                                                             Us
     Line from                                                                   100% of fair market value, up to
     Schedule A/B:                                                               any applicable statutory limit

     Brief
     description:                                                             Us
     Line from                                                                U 100% of fair market value, up to
     Schedule A/B:                                                               any applicable statutory limit

     Brief
     description:
     Line from                                                                U 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit


     Brief
     description:                                                              Us
     Line from                                                                   100% of fair market value, up to
     Schedule A/B:                                                               any applicable statutory limit

     Brief
     description:                                                              Us
     Line from                                                                U 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit

     Brief
     description:                                                              Us
     Line from                                                                O 100% of fair market value, up to
     Schedule NB:                                                               any applicable statutory limit


     Brief
     description:                                                             Us
     Line from                                                                U 100% of fair market value, up to
     Schedule A/B:                                                              any applicable statutory limit



Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                      page 2    of
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                                                                                 Page 34 of 57
Fill in this information to identify your case:


Debtor 1               BRIAN MORRISON
                      First Name                Middle Name                    Last Name

Debtor 2
(Spouse, if filing)   First Name                Middle Name                    Last Name


United States Bankruptcy Court for the:                       District of

 Case number
 (If known)                                                                                                                                   D Check if this is an
                                                                                                                                                 amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
      U No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      U Yes. Fill in all of the information below.


               List All Secured Claims
                                                                                                         Column A                     Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim               Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the            that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor's name.          value of collateral,         claim                 If any




r      FREEDOM MORTAGAGE                                  Describe the property that secures the claim:                 212,956.54 $       212,956.54 $ 8 656• 64
      Creditor's Name
       PO Box 619063
      Number            Street
                                                         As of the date you file, the claim is: Check all that apply.
                                                                Contingent
       DALLAS                      TX      72561          •     Unliquidated
      City                         State   ZIP Code       LI    Disputed
  Who owes the debt? Check one.                           Nature of lien. Check all that apply.
     Debtor 1 only                                        ir An agreement you made (such as mortgage or secured
  U Debtor 2 only                                          car loan)
  El Debtor 1 and Debtor 2 only                          U Statutory lien (such as tax lien, mechanic's lien)
  U At least one of the debtors and another              D Judgment lien from a lawsuit
                                                         U Other (including a right to offset)
  U Check if this claim relates to a
     community debt
  Date debt was incurred                                  Last 4 digits of account number 4           0   8     6

                                                          Describe the property that secures the claim:                                           4,016 $        1,146
       AMER IS BANK
      Creditor's Name
       3 CORPORATE SQUARE
      Number            Street
                                                         As of the date you file, the claim is: Check all that apply.
                                                          Er Contingent
       ATLANTA                     GA 30329               LI Unliquidated
      City                         State   ZIP Code       LI Disputed
  Who owes the debt? Check one.                           Nature of lien. Check all that apply.
  Er Debtor 1 only                                        ar An agreement you made (such as mortgage or secured
  GI Debtor 2 only                                           car loan)
  U Debtor 1 and Debtor 2 only                            D Statutory lien (such as tax lien, mechanic's lien)
  U At least one of the debtors and another               El Judgment lien from a lawsuit
                                                          El Other (including a right to offset)
  •  Check if this claim relates to a
     community debt
  Date debt was incurred 10/2017                          Last 4 digits of account number         7   1   3     0
      Add the dollar value of your entries in Column A on this page. Write that number here*                             216,972.54


Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                   , .
                                                                                                                                                   page 1 of L
                    Case 21-51887-pwb                     Doc 1           Filed 03/08/21 Entered 03/08/21 11:48:21                                        Desc P
                                                                               Page 35 of 57
     Debtor 1                                                                                                    Case number (If known)
                     First Name      Middle Name          Last Name


                                                                                                                            _Column A              Column B                  Column C
                 Additional Page
                                                                                                                            Amount of claim        Value of collateral       Unsecured
                  After listing any entries on this page, number them beginning with 2.3, followed                                                 that supports this        portion
                                                                                                                            Do not deduct the
                  by 2.4, and so forth.                                                                                     value of collateral.   claim                     If any

                                                          Describe the property that secures the claim:
        Creditors Name
        Creditors

        Number             Street

                                                          As of the date you file, the claim is: Check all that apply.
                                                          U Contingent
        City                          State    ZIP Code   ▪    Unliquidated
                                                          LI Disputed
      Who owes the debt? Check one.                       Nature of lien. Check all that apply.
      tir Debtor 1 only                                   U An agreement you made (such as mortgage or secured
      O Debtor 2 only                                       car loan)
      O Debtor 1 and Debtor 2 only                        U Statutory lien (such as tax lien, mechanic's lien)
      O At least one of the debtors and another           U Judgment lien from a lawsuit
                                                          U Other (including a right to offset)
      U Check if this claim relates to a
        community debt

      Date debt was incurred                              Last 4 digits of account number _          _       _    _
                                                                              —       --                 ,                  — --
                                                          Describe the property that secures the claim:                    $                        $                    $
        Creditor's Name

        Number             Street
                                                          As of the date you file, the claim is: Check all that apply.
                                                          ▪    Contingent
                                                          •    Unliquidated
        City                          State    ZIP Code   LI Disputed
      Who owes the debt? Check one.
                                                          Nature of lien. Check all that apply.
      U Debtor 1 only
                                                          U An agreement you made (such as mortgage or secured
      LI Debtor 2 only                                       car loan)
      U Debtor 1 and Debtor 2 only                        LI Statutory lien (such as tax lien, mechanic's lien)
      U At least one of the debtors and another           LI Judgment lien from a lawsuit
                                                          U    Other (including a right to offset)
      U Check if this claim relates to a
        community debt

      Date debt was incurred                              Last 4 digits of account number
Il      y



                                                          Describe the property that secures the claim:
         Creditor's Name


        Number             Street


                                                          As of the date you file, the claim is: Check all that apply.
                                                          U Contingent
         City                         State    ZIP Code   •    Unliquidated
                                                          D    Disputed
      Who owes the debt? Check one.                       Nature of lien. Check all that apply.
            Debtor 1 only                                 •    An agreement you made (such as mortgage or secured
            Debtor 2 only                                      car loan)
            Debtor 1 and Debtor 2 only                    O Statutory lien (such as tax lien, mechanic's lien)
            At least one of the debtors and another       O    Judgment lien from a lawsuit
                                                          O Other (including a right to offset)
            Check if this claim relates to a
            community debt
       Date debt was incurred                             Last 4 digits of account number

                Add the dollar value of your entries in Column A on this page. Write that number here:
                If this is the last page of your form, add the dollar value totals from all pages.
                Write that number here'

     Official Form 106D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page           of
               Case 21-51887-pwb                 Doc 1       Filed 03/08/21 Entered 03/08/21 11:48:21                                Desc P
                                                                  Page 36 of 57
Debtor 1                                                                                       Case number (If known)
               First Name    Middle Name        Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
 agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
 you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
 be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                          On which line in Part 1 did you enter the creditor?
      Name                                                                                Last 4 digits of account number


      Number        Street




      City                                         State          ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor?
      Name                                                                                Last 4 digits of account number
                                                                                                                                -

      Number        Street




      City                                         State          ZIP Code

                                                                                         On which line in Part 1 did you enter the creditor?
      Name                                                                               Last 4 digits of account number


      Number        Street




      City                                         State          ZIP Code

                                                                                         On which line in Part 1 did you enter the creditor?
      Name                                                                               Last 4 digits of account number


      Number        Street




      City                                         State          ZIP Code

                                                                                         On which line in Part 1 did you enter the creditor?
      Name                                                                               Last 4 digits of account number


      Number        Street




      City                                         State          ZIP Code

                                                                                         On which line in Part 1 did you enter the creditor?
      Name                                                                               Last 4 digits of account number


      Number        Street




Official Form 106D                         Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                             page       of
                 Case 21-51887-pwb                   Doc 1        Filed 03/08/21 Entered 03/08/21 11:48:21                                    Desc P
  Fill in this information to identify your case:
                                                                       Page 37 of 57

  Debtor 1
                    Brian Morrison
                     First Name              Middle Name                 Last Name
  Debtor 2
  (Spouse, if filing) First Name             Middle Name                 Last Name

  United States Bankruptcy Court for the: Northern District of Georgia
                                                                                                                                              1:1 Check if this is an
  Case number
  (If known)                                                                                                                                      amended filing



 Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                           12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
NB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1060). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:        List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
      CI No. Go to Part 2.
          Yes.
 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
    each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
    nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
    unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                             Total claim     Priority     Nonpriority
                                                                                                                                             amount       amount

        Georgia Department of Revenue                         Last 4 digits of account number                            $       5,835.11 $ 5,835.11 $
       Priority Creditors Name
        PO Box 740321                                         When was the debt incurred?          12/31/2018
       Number            Street
                                                              As of the date you file, the claim is: Check all that apply.
        Atlanta                       GA 30374                kl Contingent
       City                         State     ZIP Code
                                                              •  Unliquidated
       Who incurred the debt? Check one.
                                                              U Disputed
       • Debtor 1 only
       U Debtor 2 only                                        Type of PRIORITY unsecured claim:
       U Debtor 1 and Debtor 2 only                           •   Domestic support obligations
       U At least one of the debtors and another
                                                              kl Taxes and certain other debts you owe the government
       U Check if this claim is for a community debt          U Claims for death or personal injury while you were
       Is the claim subject to offset?                          intoxicated
       U No                                                   U Other. Specify
       el Yes
2.2     Florida Department of Revenue                                                                                               1550 $        1550
                                                              Last 4 digits of account number 1         2    2       1
       Priority Creditor's Name
                                                              When was the debt incurred?
        2450 SHUMARD OAK BLVD
       Number            Street
                                                              As of the date you file, the claim is: Check all that apply.

        ALLAHASSEE,                   FL      32399-017       U Contingent
       City                         State     ZIP Code        • Unliquidated
       Who incurred the debt? Check one.                      U Disputed
       la Debtor 1 only
                                                              Type of PRIORITY unsecured claim:
       CI Debtor 2 only
                                                              Id Domestic support obligations
       U Debtor 1 and Debtor 2 only
                                                              U Taxes and certain other debts you owe the government
       0 At least one of the debtors and another
                                                              U Claims for death or personal injury while you were
       U Check if this claim is for a community debt            intoxicated
       Is the claim subject to offset?                        U Other. Specify
       ki No
       CI Yes

 Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                             page 1 of
                  CaseMorrison
                  Brian 21-51887-pwb                    Doc 1           Filed 03/08/21 Entered 03/08/21 11:48:21                                 Desc P
 Debtor 1
                  First Name      Middle Name          Last Name             Page 38 of 57 Case number (if known)
 Part 1:          Your PRIORITY Unsecured Claims — Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                           Total claim   Priority   NooPriori
                                                                                                                                                amount     amount


                                                                   Last 4 digits of account number
      Priority Creditor's Name
                                                                   When was the debt incurred?
      Number           Street
                                                                   As of the date you file, the claim is: Check all that apply.

                                                                   O Contingent
      City                              State     ZIP Code         •    Unliquidated
                                                                   O Disputed
      Who incurred the debt? Check one.
      ▪      Debtor 1 only                                         Type of PRIORITY unsecured claim:
      O Debtor 2 only
                                                                   U Domestic support obligations
      O Debtor 1 and Debtor 2 only
                                                                   CI   Taxes and certain other debts you owe the government
      0      At least one of the debtors and another
                                                                   O    Claims for death or personal injury while you were
                                                                        intoxicated
      O Check if this claim is for a community debt
                                                                   O Other. Specify

      Is the claim subject to offset?
      Li No
      0 Yes

                                                                   Last 4 digits of account number
      Priority Creditor's Name

                                                                   When was the debt incurred?
      Number           Street
                                                                   As of the date you file, the claim is: Check all that apply.

                                                                   O Contingent
      City                              State     ZIP Code         •    Unliquidated
                                                                   O Disputed
      Who incurred the debt? Check one.
      O Debtor 1 only                                              Type of PRIORITY unsecured claim:
      O Debtor 2 only
                                                                   U Domestic support obligations
      O Debtor 1 and Debtor 2 only
                                                                   O Taxes and certain other debts you owe the government
      0 At least one of the debtors and another                    O Claims for death or personal injury while you were
                                                                     intoxicated
      U Check if this claim is for a community debt
                                                                   O Other. Specify

      Is the claim subject to offset?
      U No
      0 Yes

                                                                   Last 4 digits of account number
      Priority Creditor's Name
                                                                   When was the debt incurred?
      Number           Street
                                                                   As of the date you file, the claim is: Check all that apply.

                                                                   Li   Contingent
      City                              State     ZIP Code         •    Unliquidated
                                                                   O Disputed
      Who incurred the debt? Check one.
      O Debtor 1 only                                              Type of PRIORITY unsecured claim:
      O Debtor 2 only
                                                                   O Domestic support obligations
      O Debtor 1 and Debtor 2 only
                                                                   O Taxes and certain other debts you owe the government
      0 At least one of the debtors and another                    O    Claims for death or personal injury while you were
                                                                        intoxicated
      U Check if this claim is for a community debt
                                                                   O    Other. Specify

      Is the claim subject to offset?
      ▪      No
      0 Yes

Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                 page   of
                Case
                Brian 21-51887-pwb
                      Morrison                        Doc 1           Filed 03/08/21 Entered 03/08/21 11:48:21                                  Desc P
  Debtor 1
                  First Name         MickHe Name      Last Name            Page 39 of 57 Case number (if known)
  Part 2:       List All of Your NONPRIORITY Unsecured Claims

  3._Jao_any creditors_have nonprioritli unsecured claims against you?
      1=1   No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      a Yes
      Li all of your nonpriority unsecured claims in     n the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriorfty unsecured         ,
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                       Total claim
        ALLTRAN FINANCIAL LP                                                     Last 4 digits of account number
       Nonpriority Creditor's Name
        5800 NORTH COURSE DRIVE                                                  When was the debt incurred?
       Number          Street
        HOUSTON,                                    TX             77072
       City                                        State          ZIP Code       As of the date you file, the claim is: Check all that apply.

                                                                                 Er Contingent
       Who incurred the debt? Check one.                                         •  Unliquidated
       kl Debtor 1 only                                                          O Disputed
       CI Debtor 2 only
       CI Debtor 1 and Debtor 2 only                                             Type of NONPRIORITY unsecured claim:
       0 At least one of the debtors and another                                 O Student loans
        U Check if this claim is for a community debt                            • Obligations arising out of a separation agreement or divorce
                                                                                   that you did not report as priority claims
       Is the claim subject to offset?                                           O Debts to pension or profit-sharing plans, and other similar debts
       U No                                                                      O Other. Specify
       CI Yes

        AT&T                                                                     Last 4 digits of account number                      —                              486
       Nonpriority Creditors Name                                               When was the debt incurred?           07/01/20
       208 S Akard S
       Number          Street
        Dallas                                     TX              75202        As of the date you file, the claim is: Check all that apply.
       City                                        State          ZIP Code
                                                                                 la Contingent
       Who incurred the debt? Check one.                                         •  Unliquidated
       RI Debtor 1 only                                                          O Disputed
       O Debtor 2 only
       CI Debtor 1 and Debtor 2 only                                            Type of NONPRIORITY unsecured claim:
       0 At least one of the debtors and another                                •  Student loans
                                                                                O Obligations arising out of a separation agreement or divorce
       U Check if this claim is for a community debt                               that you did not report as priority claims
       Is the claim subject to offset?                                          CI Debts to pension or profit-sharing plans, and other similar debts
       ki No                                                                    O Other. Specify
       0 Yes
4.3
        Bank of America                                                         Last 4 digits of account number 1         9 7 9
       Nonpriority Creditor's Name                                                                                                                                   312
                                                                                When was the debt incurred?           08/25/2020
        PO Box 15284
       Number         Street
       Willington                                   DE             19850
       City                                                                     As of the date you file, the claim is: Check all that apply.
                                                   State          ZIP Code
                                                                                  Contingent
       Who incurred the debt? Check one.
                                                                                • Unliquidated
         Debtor 1 only
                                                                                O Disputed
       O Debtor 2 only
       O Debtor 1 and Debtor 2 only
                                                                                Type of NONPRIORITY unsecured claim:
       0 At least one of the debtors and another
                                                                                O Student loans
       O Check if this claim is for a community debt                            O Obligations arising out of a separation agreement or divorce
                                                                                   that you did not report as priority claims
       Is the claim subject to offset?
                                                                                CI Debts to pension or profit-sharing plans, and other similar debts
         No
                                                                                O Other. Specify
       O Yes



Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   page      of
               Case  21-51887-pwb
               Brian Morrison                         Doc 1           Filed 03/08/21 Entered 03/08/21 11:48:21                             Desc P
 Debtor 1
                First Name          Middle Name       Last Name            Page 40 of 57 Case number (if known)

 Part 2:       Your NONPRIORITY Unsecured Claims — Continuation Page



 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                 Total claim


44
      Capital One                                                               Last 4 digits of account number 4         1     5    4                      10,931
                                                                                                                                                        $
      Nonpriority Creditor's Name
                                                                                When was the debt incurred?          04/2018
      PO BOX 31293
      Number          Street
                                                                                As of the date you file, the claim is: Check all that apply.
      SALT LAKE CITY                               UT              84131
      City                                         State          ZIP Code      a Contingent
                                                                                • Unliquidated
      Who incurred the debt? Check one.                                         U Disputed
      J Debtor 1 only
      U Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only
                                                                                U Student loans
      CI At least one of the debtors and another                                U Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                           U Other. Specify
      ES No
      U Yes


45
      Capital One                                                               Last 4 digits of account number 0         6     1 8
      Nonpriority Creditor's Name
                                                                                When was the debt incurred?          12/2016
      PO BOX 31293
      Number          Street
                                                                                As of the date you file, the claim is: Check all that apply.
      SALT LAKE CITY                               UT              84131
      City                                         State          ZIP Code      la Contingent
                                                                                •  Unliquidated
      Who incurred the debt? Check one.                                         U Disputed
      a Debtor 1 only
      LI Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only
                                                                                U Student loans
      LI At least one of the debtors and another
                                                                                IL1 Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                           U Other. Specify
      la No
      U Yes
                                                                                                               _
4.6                                                                                                                                                         738.68
      CHASE BANK                                                                Last 4 digits of account number      4     8    1     8
      Nonpriority Creditor's Name
                                                                                When was the debt incurred?          10/2015
      PO Box 15123
      Number         Street
                                                                                As of the date you file, the claim is: Check all that apply.
      WILMINGTON                                   DE              19850
      City                                         State          ZIP Code      la Contingent
                                                                                •  Unliquidated
      Who incurred the debt? Check one.                                         U Disputed
      la Debtor 1 only
      LI Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only
                                                                                U Student loans
      U At least one of the debtors and another
                                                                                U Obligations arising out of a separation agreement or divorce that
                                                                                  you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                           U Other. Specify
      Er No
      U Yes




Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                page    of
                Case
                BRIAN21-51887-pwb
                      MORRISON                         Doc 1           Filed 03/08/21 Entered 03/08/21 11:48:21                                Desc P
  Debtor 1
                  First Name        Middle Name       Last Name             Page 41 of 57 Case number (if known)

IrMi
1 3
                List All of Your NONPRIORITY Unsecured Claims

      Do_any creditors have nonpriority unsecured claims against you?
      I=1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          Yes

  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part I. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                      Total claim

F]     CHASE BANK-(JPMCB)                                                       Last 4 digits of account number 0         1     6    8
       Nonpriority Creditors Name

       PO Box 15123                                                             When was the debt incurred?          10/2017
       Number          Street
       WILMINGTON                                  DE              19850
       City                                        State          ZIP Code      As of the date you file, the claim is: Check all that apply.

                                                                                Elf Contingent
       Who incurred the debt? Check one.                                            •   Unliquidated
       id Debtor 1 only                                                         LI      Disputed
       O Debtor 2 only
       O Debtor 1 and Debtor 2 only                                             Type of NONPRIORITY unsecured claim:
       0 At least one of the debtors and another                                U Student loans
       U Check if this claim is for a community debt                            LIObligations arising out of a separation agreement or divorce
                                                                                  that you did not report as priority claims
       Is the claim subject to offset?                                          O Debts to pension or profit-sharing plans, and other similar debts
       la No                                                                    O Other. Specify
          Yes

   TC 0
      - 01
         - -IN-G—W-1-NTER---LL-C                                                Last 4. digits of account number
       Nonpriority Creditors Name                                               When was the debt incurred?
        1355 ROS WELL RD
       Number          Street
       MARIETTA,                                   GA              30062        As of the date you file, the claim is: Check all that apply.
       City                                        State          ZIP Code
                                                                                P . Contingent
       Who incurred the debt? Check one.                                        •   Unliquidated
       RI Debtor 1 only                                                         O Disputed
       O Debtor 2 only
       LI Debtor 1 and Debtor 2 only                                            Type of NONPRIORITY unsecured claim:
       0 At least one of the debtors and another                                U Student loans
                                                                                O Obligations arising out of a separation agreement or divorce
       U Check if this claim is for a community debt                               that you did not report as priority claims
       Is the claim subject to offset?                                          O Debts to pension or profit-sharing plans, and other similar debts
       El No                                                                    LI Other. Specify
       0 Yes
4.9 DISCOVER                                                                    Last 4 digits of account number      2 0 4            8
       Nonpriority Creditors Name                                                                                                                           9,386.51
                                                                                When was the debt incurred?          06/2016
       PO Box 3025
       Number          Street
       NEW ALBANY                                  OH              43054
       City
                                                                               As of the date you file, the claim is: Check all that apply.
                                                   State          ZIP Code

                                                                                O Contingent
       Who incurred the debt? Check one.
                                                                                •       Unliquidated
       LI Debtor 1 only
                                                                               LI       Disputed
       LI Debtor 2 only
       O Debtor 1 and Debtor 2 only
                                                                               Type of NONPRIORITY unsecured claim:
      LI At least one of the debtors and another
                                                                               • Student loans
       U Check if this claim is for a community debt                           O Obligations arising out of a separation agreement or divorce
      Is the claim subject to offset?                                            that you did not report as priority claims
                                                                               O Debts to pension or profit-sharing plans, and other similar debts
       O No
                                                                               O Other. Specify
       0 Yes


Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  page      of
                     Case
                     BRIAN21-51887-pwb
                           MORRISON                    Doc 1           Filed 03/08/21 Entered 03/08/21 11:48:21                               Desc P
 Debtor 1
                     First Name       Middle Name      Lest Name            Page 42 of 57 Case number (if known)

  Part 2:         Your NONPRIORITY Unsecured Claims — Continuation Page


  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                  Total claim

 4.10
            FLORIDA DEPARTMENT OF TRANSPORTATION                                 Last 4 digits of account number 4          9 3 0
        Nonpriority Creditor's Name
                                                                                 When was the debt incurred?           06/2020
            PO Box 312241
        Number            Street
                                                                                 As of the date you file, the claim is: Check all that apply.
            TAMPA                                    FL             33631
        City                                        State          ZIP Code      •    Contingent
                                                                                 •    Unliquidated
        Who incurred the debt? Check one.                                        O Disputed
        a      Debtor 1 only
        O Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
        O Debtor 1 and Debtor 2 only
                                                                                 D Student loans
        0 At least one of the debtors and another                                U Obligations arising out of a separation agreement or divorce that
                                                                                   you did not report as priority claims
        U Check if this claim is for a community debt
                                                                                 U Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                          O    Other. Specify
        Er No
        O Yes


4.11
        JACKSON ELECTRIC MEMBERSHIP CORPORATION                                  Last 4 digits of account number 5          4     8 8                            137
        Nonpnonty Creditor's Name
                                                                                 When was the debt incurred?
        PO Box 100
        Number            Street
                                                                                 As of the date you file, the claim is: Check all that apply.
            JEFFERSON                                GA             30549
        City                                        State          ZIP Code      la   Contingent
                                                                                 •    Unliquidated
        Who incurred the debt? Check one.
                                                                                 U Disputed
        la Debtor 1 only
        O Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
        U Debtor 1 and Debtor 2 only
                                                                                 O    Student loans
        U At least one of the debtors and another                                O    Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
        •      Check if this claim is for a community debt
                                                                                 O Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                          U Other. Specify
        id No
        U Yes
4.12

        NAVIENT                                                                  Last 4 digits of account number       9 7        8 7
        Nonpriority Creditor's Name
                                                                                 When was the debt incurred?           07/18/2007
        123 JUSTISON STREET
        Number            Street
                                                                                 As of the date you file, the claim is: Check all that apply.
        WILMINGTON,                                 DE              19801
        City                                        State          ZIP Code      ief Contingent
                                                                                 •    Unliquidated
        Who incurred the debt? Check one.
                                                                                 •    Disputed
        rif Debtor 1 only
        U Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
        U Debtor 1 and Debtor 2 only
                                                                                 O    Student loans
        0 At least one of the debtors and another                                O Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
        U Check if this claim is for a community debt
                                                                                 CI Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                          LI Other. Specify
        id No
               Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                 page   of
                     Case
                     BRIAN21-51887-pwb
                            MORRISON                     Doc 1           Filed 03/08/21 Entered 03/08/21 11:48:21                                Desc P
    Debtor 1
                      First Name       Middle Name       Last Name            Page 43 of 57 Case number (if known)
    Part 2:          List All of Your NONPRIORITY Unsecured Claims
:
J-3—Do any creditors have nonpriority unsecured claims against you?
1
1
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.

       0
       Yes

    4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

F] OLD NAVY
         Nonpriority Creditor's Name
                                                                                  Last 4 digits of account number 1         9     9    0
                                                                                  When was the debt incurred?          12/2018
         PO BOX 965005
         Number            Street
         ORLANDO                                      FL              32896
         City                                         State          ZIP Code     As of the date you file, the claim is: Check all that apply.

                                                                                  O Contingent
         Who incurred the debt? Check one.                                        • Unliquidated
         U Debtor 1 only                                                          O Disputed
         O Debtor 2 only
         O Debtor 1 and Debtor 2 only                                             Type of NONPRIORITY unsecured claim:
         0 At least one of the debtors and another                                U Student loans
         U Check if this claim is for a community debt                            U Obligations arising out of a separation agreement or divorce
                                                                                    that you did not report as priority claims
         Is the claim subject to offset?                                          O Debts to pension or profit-sharing plans, and other similar debts
         U No                                                                     • Other. Specify
         0 Yes

             SYNCHRONY BANK                                                       Last 4 digits of account number 1         9 9 0
         Nonpriority Creditor's Name                                              When was the debt incurred?           12/2018 —
         PO Box 965033
         Number             Street
         ORLANDO                                      FL              32896       As of the date you file, the claim is: Check all that apply.
         City                                         State          ZIP Code
                                                                                  CI       Contingent
         Who incurred the debt? Check one.                                        •        Unliquidated
         LI Debtor 1 only                                                             J'   Disputed
         CI Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
         CI Debtor 1 and Debtor 2 only
         CI At least one of the debtors and another                               CIStudent loans
                                                                                  O Obligations arising out of a separation agreement or divorce
         U Check if this claim is for a community debt                              that you did not report as priority claims
         Is the claim subject to offset?                                          O Debts to pension or profit-sharing plans, and other similar debts
         U No                                                                     •        Other. Specify
         CI Yes
                                                                                               —
4.15
          USAA                                                                    Last 4 digits of account number       7 5 6           2                     17,108.96
         Nonpriority Creditor's Name
                                                                                  When was the debt incurred?           04/2016
          9800 Fredericksburg Rd
         Number             Street
          San Antonio                                 TX              78288
                                                                                  As of the date you file, the claim is: Check all that apply.
         City                                         State          ZIP Code
                                                                                  rier Contingent
         Who incurred the debt? Check one.
                                                                                  • Unliquidated
         ▪      Debtor 1 only
                                                                                  O Disputed
         CI Debtor 2 only
         GI Debtor 1 and Debtor 2 only                                            Type of NONPRIORITY unsecured claim:
         CI At least one of the debtors and another
                                                                                  U Student loans
         U Check if this claim is for a community debt                            CI Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
         Is the claim subject to offset?
                                                                                  CI Debts to pension or profit-sharing plans, and other similar debts
                No
                                                                                  U Other. Specify
         0 Yes


Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page     of
                   Case 21-51887-pwb
                   BRIAN MORRISON
                                                               Doc 1           Filed 03/08/21 Entered 03/08/21 11:48:21                             Desc P
 Debtor 1
                   First Name       Middle Name                Last Name            Page 44 of 57 Case number Of known)


FEI               Your NONPRIORITY Unsecured Claims — Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim



                                                                                         Last 4 digits of account number OF             DO
        FED LOAN SERVICING
      Nonpriority Creditor's Name
                                                                                         When was the debt incurred?
       PO Box 60610
      Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
       HARRISBURG                                            PA             17106
      City                                                  State          ZIP Code      id Contingent
                                                                                         •   Unliquidated
      Who incurred the debt? Check one.                                                  U Disputed
      61Debtor 1 only
      U Debtor 2 only                                                                    Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only
                                                                                         Er Student loans
      U At least one of the debtors and another
                                                                                         U Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
       U Check if this claim is for a community debt
                                                                                         U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    U   Other. Specify
      Elf No
      U Yes




                          ADT                                                            Last 4 digits of account number
      Nonpriority Creditor's Name
                                                                                         When was the debt incurred?                2019
                      1501 Yamato Road
      Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
                   Boca Raton,      FL                        33431
      City                                                  State          ZIP Code          Contingent
                                                                                             Unliquidated
      Who incurred the debt? Check one.
                                                                                             Disputed
      El Debtor 1 only
      U Debtor 2 only                                                                    Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only
                                                                                             Student loans
      El At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                         U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    U Other. Specify
      El No
      U Yes
                      •


      Nonprio
                   1<__Q51%
                   Creditor's
                              0-(1'                          Ml'e_nC,c)-                 Last 4 digits of account number

                                                  i   e.,                                When was the debt incurred?
      Number              Street

      City
              t•k__ 1       ion     4on                     State   -       16.156       As of the date you file, the claim is: Check all that apply.

                                                                                             Contingent
                                                                                             Unliquidated
      Who incurred the debt? Check one.                                                      Disputed
     \ 95 Debtor 1 only
      U Debtor 2 only                                                                    Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only
                                                                                         U Student loans
      U At least one of the debtors and another
                                                                                         El Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                         U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    U Other. Specify
             No
             Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                               page   of
                    Case  21-51887-pwb
                    Brian Morrison                        Doc 1            Filed 03/08/21 Entered 03/08/21 11:48:21                                Desc P
    Debtor
                     First Name     Middle Name           Last Name             Page 45 of 57 Case number                  (if known)




     Part 3:        List Others to Be Notified About a Debt That You Already Listed

     5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
;       example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
        2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
        additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

             Brock & Scott                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
          Name

             PO Box 9115                                                         Line   4.9     of (Check one):    0     Part 1: Creditors with Priority Unsecured Claims
          Number           Street                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                                92589-9115       Last 4 digits of account number 2                0
                                                                                                                                 .L     4   8
             Temecula                             CA
          City                                    State               ZIP Code

             CREDIT CONTROL                                                      On which entry in Part 1 or Part 2 did you list the original creditor?
          Name

             5757 PHANTOM DRIVE                                                  Line   4.6     of (Check one):    0     Part 1: Creditors with Priority Unsecured Claims
          Number           Street                                                                                  •     Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

             HAZELWOOD                            MO            63042            Last 4 digits of account number 4                _8    1   8
          City                                    State               ZIP Code


             MRS BP0 LLC                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
          Name

             1930 OLNEY AVENUE                                                   Line   4.6     of (Check one):    CI Part 1: Creditors with Priority Unsecured Claims
          Number           Street                                                                                  M Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

             CHERRY HILL                           NJ            08003           Last 4 digits of account number 4                  8   1 8
          City                                    State               ZIP Code

             MRS BPO LLC                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
          Name

             1930 OLNEY AVENUE                                                   Line    4.7     of (Check one):   0 Part 1: Creditors with Priority Unsecured Claims
          Number           Street                                                                                  lir Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

             CHERRY HILL                           NJ            08003
          City

             PROFESSIONAL RECOVERY CONSULTANTS
                                                  State               ZIP Code
                                                                                                            ,
                                                                                 Last 4 digits of account number 0                 1    6   8

                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
          Name

             2700 MEDRIDIAN PARKWAY SUITE 200                                    Line   2.1     of (Check one):    ier   Part 1: Creditors with Priority Unsecured Claims
          Number           Street                                                                                  O Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

             DURHAM                                NC            27713           Last 4 digits of account number 7                 4    7   0
                                                  State               ZIP Code

             PORTFOLIO RECOVERY                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
          Name

             PO Box 965033                                                       Line    4.14    of (Check one):   Ll    Part 1: Creditors with Priority Unsecured Claims
          Number           Street                                                                                  if Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

             ORLANDO
          City

             RADIUS GLOBAL
                                                  FL
                                                  State
                                                                 32895
                                                                      ZIP Code
                                                                                                         ---------d
                                                                                 Last 4 digits of account number 1                  9   9   0


                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
          Name

             PO Box 390846                                                       Line   4.6     of (Check one):    0     Part 1: Creditors with Priority Unsecured Claims
          Number           Street
                                                                                                                   •     Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims
             MINNEAPOLIS                          MN             55439
             City                                 State               ZIP Code
                                                                                 Last 4 digits of account number 0                 6    1   8



    Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                   page        of
                Case 21-51887-pwb
                BRIAN MORRISON
                                                      Doc 1            Filed 03/08/21 Entered 03/08/21 11:48:21                             Desc P
 Debtor 1
                 First Name     Middle Name           Last Name             Page 46 of 57 Case number (if known)
  Part 3:       List Others to Be Notified About a Debt That You Already Listed

;Use this page only if Irint have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
   example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
   2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
   additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

       MERCANTILE                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

       165 LAWRENCE BELL DRIVE                                               Line   4.14   of (Check one):   CI   Part 1: Creditors with Priority Unsecured Claims
       Number          Street                                                                                El Part 2: Creditors with Nonpriority Unsecured Claims

                                                                             Last 4 digits of account number 8          2    7    5
       WILLIAMSVILLE,                          NY           14221
       City                                   State               ZIP Code

                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                             Line          of (Check one): U Part 1: Creditors with Priority Unsecured Claims
       Number          Street
                                                                                                             •    Part 2: Creditors with Nonpriority Unsecured
                                                                             Claims

                                                                             Last 4 digits of account number —          —    —    —
       City                                   State               ZIP Code


                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                             Line          of (Check one): U Part 1: Creditors with Priority Unsecured Claims
       Number          Street                                                                                O Part 2: Creditors with Nonpriority Unsecured
                                                                             Claims

                                                                             Last 4 digits of account number -          _
       City                                   State               ZIP Code

                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                             Line          of (Check one): U Part 1: Creditors with Priority Unsecured Claims
       Number          Street                                                                                •    Part 2: Creditors with Nonpriority Unsecured
                                                                             Claims

                                                                             Last 4 digits of account number
       City                                   State               ZIP Code


                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                             Line          of (Check one):   0    Part 1: Creditors with Priority Unsecured Claims
       Number         Street
                                                                                                             O Part 2: Creditors with Nonpriority Unsecured
                                                                             Claims

                                                                             Last 4 digits of account number _          _
                                              State               ZIP Soda

                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                             Line          of (Check one):   CI   Part 1: Creditors with Priority Unsecured Claims
       Number         Street
                                                                                                             O Part 2: Creditors with Nonpriority Unsecured
                                                                             Claims

                                                                             Last 4 digits of account number -          _
                                              State               ZIP Code


                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                             Line          of (Check one):   0    Part 1: Creditors with Priority Unsecured Claims
       Number         Street
                                                                                                             O Part 2: Creditors with Nonpriority Unsecured
                                                                             Claims


       City                                   State               ZIP Code   Last 4 digits of account number —          —    —    —


Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                 page        of
                Case  21-51887-pwb
                Brian Morrison                         Doc 1        Filed 03/08/21 Entered 03/08/21 11:48:21                Desc P
    Debtor 1
                   First Name     Middle Name         Last Name          Page 47 of 57 Case number (If known)

    Part 4:    Add the Amounts for Each Type of Unsecured Claim


1 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.
1




                    6a. Domestic support obligations                                6a.                        1,550
    Total claims
    from Part 1
                    6b. Taxes and certain other debts you owe the
                        government                                                  6b.                   5,835.11

                     6c.Claims for death or personal injury while you were
                        intoxicated                                                 6c.                            0

                     6d. Other. Add all other priority unsecured claims.
                         Write that amount here.                                    6d. +$



                     6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                          7,385.11


                                                                                           Total claim

               6f. Student loans                                                    6f.                        45,528
  Total claims
' from Part 2 6g. Obligations arising out of a separation agreement
                   or divorce that you did not report as priority
                                                                                            $                      0
                   claims                                                           6g.
                     6h.Debts to pension or profit-sharing plans, and other
                        similar debts                                               6h.                            0


                     6i. Other. Add all other nonpriority unsecured claims.
                         Write that amount here.                                    6i.   +$             54,331.12


                     6j. Total. Add lines 6f through 61.                            6j.
                                                                                                         99,859.12




               rint                             Save Aa-.-            I Add Attachment                                              eeet

    Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                             page   of
                Case 21-51887-pwb                  Doc 1        Filed 03/08/21 Entered 03/08/21 11:48:21                                        Desc P
                                                                     Page 48 of 57
 Fill in this information to identify your case:


 Debtor 1           BRIAN MORRISON
                    First Name             Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                    Check if this is:
 or known)
                                                                                                                 U An amended filing
                                                                                                                 U A supplement showing postpetition chapter 13
                                                                                                                   income as of the following date:
Official Form 1061                                                                                                  MM / DD/ YYYY

Schedule I: Your Income                                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
   information.                                                                Debtor 1                                         Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status                 El Employed                                         U Employed
    employers.                                                             0     Not employed                                  U Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                      TRUCK DRIVER
    Occupation may include student
    or homemaker, if it applies.
                                                                                      BRL Transport
                                         Employer's name

                                                                                     3247 Coleman PI
                                         Employer's address
                                                                          Number Street                                      Number    Street




                                                                                    Orlando, Fl 32805
                                                                          City                State     ZIP Code             City                 State ZIP Code

                                        How long employed there?



 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
   spouse unless you are separated.
   If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
   below. If you need more space, attach a separate sheet to this form.

                                                                                                            For Debtor 1      For Debtor 2 or
                                                                                                                              non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.               2.       $      3,264.41

 3. Estimate and list monthly overtime pay.                                                     3. + $                0


 4. Calculate gross income. Add line 2 + line 3.                                                4.      $ 3,264.41



Official Form 1061                                                Schedule I: Your Income                                                               page 1
                  Case 21-51887-pwb                Doc 1        Filed 03/08/21 Entered 03/08/21 11:48:21                                  Desc P
                                                                     Page 49 of 57
Debtor 1          BRIAN MORRISON                                                                  Case number (if known)
                               Middle Name         Last Name



                                                                                              For Debtor 1                 For Debtor 2 or
                                                                                                                           non-filinq spouse

       Copy line 4 here                                                             -) 4.     $      3,264.41

, 5. List all payroll deductions:

        5a. Tax, Medicare, and Social Security deductions                              5a.    $                              $
        5b. Mandatory contributions for retirement plans                               5b.    $                              $
        5c. Voluntary contributions for retirement plans                               5c.    $                              $
        5d. Required repayments of retirement fund loans                               5d.    $                              $
        5e. Insurance                                                                  5e.    $                              $
        5f. Domestic support obligations                                               5f.    $                              $
        5g. Union dues                                                                 5g.    $                              $
        5h. Other deductions. Specify:                                                 5h. +$                              + $

     6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.     6.    $


     7. Calculate total monthly take-home pay. Subtract line 6 from line 4.             7.    $      3,264.41

    5. List all other income regularly received:
        8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                        8a.
        8b. Interest and dividends                                                     8b.    $
        8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                  8c.
        8d. Unemployment compensation                                                  8d.    $
        8e. Social Security                                                            8e.    $
        8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                   8f.    $

        8g.Pension or retirement income                                                8g.    $

        8h. Other monthly income. Specify:                                              8h. +$

     9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.           9.

    10.Calculate monthly income. Add line 7 + line 9.                                                3,264.41
                                                                                              $
       Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.       10.

111.State all other regular contributions to the expenses that you list in Schedule J
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
;      friends or relatives.
       Do not include any amounts already included in fines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
I      Specify:                                                                                                                            11.   $

112.Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                     12.
                                                                                                                                                 $      3,264.41
                                                                                                                                                 Combined
                                                                                                                                                 monthly income
    13. Do you expect an increase or decrease within the year after you file this form?
        tel No.
        U   Yes. Explain:


Official Form 1061                                                Schedule I: Your Income                                                            page 2
                Case 21-51887-pwb                 Doc 1        Filed 03/08/21 Entered 03/08/21 11:48:21                           Desc P
                                                                    Page 50 of 57

 Fill in this information to identify your case:

 Debtor I          BRIAN MORRISON
                    First Name             Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                                      LI Check if this is an
                    (If known)
                                                                                                                                     amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                               Your assets
                                                                                                                               Value of what you own
1. Schedule NB: Property (Official Form 106A/B)
   1a. Copy line 55, Total real estate, from Schedule A/B
                                                                                                                                   $    212,956.54


   lb. Copy line 62, Total personal property, from Schedule A/B                                                                             8,894.16

   1c. Copy line 63, Total of all property on Schedule A/B                                                                         $    221,850.70


               Summarize Your Liabilities



                                                                                                                               Your liabilities
                                                                                                                               Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D
                                                                                                                                        216,972.54

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                            7,385.11
   3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

   3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F
                                                                                                                               + $        99,859.12


                                                                                                      Your total liabilities            324,216.77


Part 3:       Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                           3,264.41
   Copy your combined monthly income from line 12 of Schedule I

5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J                                                                                  3,689.96




Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                   page 1 of 2
                  Case 21-51887-pwb                  Doc 1         Filed 03/08/21 Entered 03/08/21 11:48:21                               Desc P
                                                                        Page 51 of 57
     Debtor 1     BRIAN MORRISON                                                                     Case number (if known)
                   First Name     Middle Name        Last Name




     Part 4:     Answer These Questions for Administrative and Statistical Records

     6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

         0   No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
        El Yes


     7. What kind of debt do you have?

        El Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
             family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

             Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
             this form to the court with your other schedules.



     a. From the Statement ofYour Current Monthly Income: Copy your total current monthly income from Official
 ;      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        3,264.41




     9. Copy the following special categories of claims from Part 4, line 6 of Schedule ELF:




          From Part 4 on Schedule ELF, copy the following:


        9a. Domestic support obligations (Copy line 6a.)
                                                                                                                                  1550


        9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                              5,835.11


        9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                                                     0


        9d. Student loans. (Copy line 6f.)
                                                                                                                                45,528

        9e. Obligations arising out of a separation agreement or divorce that you did not report as                                  0
            priority claims. (Copy line 6g.)

        9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$                        0


        9g. Total. Add lines 9a through 9f.                                                                                   52,913.11




Official Form 106Sum        Summary of Your Assets and Liabilities and Certain Statistical Information                                         page 2 of 2
                                                                                       H 1
                     Case 21-51887-pwb                     Doc 1   Filed 03/08/21 Entered 03/08/21 11:48:21                                          Desc P
                                                                        Page 52 of 57
 Fill in this information to identify your case:


—Debtor 1           Brian Morrison
                    First Name               Middle Name                Last Name

 Debtor 2
 (Spouse, if filing) First Name              Middle Name                Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
  (If known)
                                                                                                                                                     0 Check if this is an
                                                                                                                                                          amended filing




   Official Form 106Dec
   Declaration About an Individual Debtor's Schedules                                                                                                              12/15


   If two married people are filing together, both are equally responsible for supplying correct information.

   You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
   obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
   years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                      Sign Below



         Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        Er No
         LI Yes.       Name of person                                                           . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                 Signature (Official Form 119).




         Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
         that they are true and correct.




           Signature of IJebtor 1                                           Signature of Debtor 2

                      6
           Date   3
                  M.,     DD      /   YYYY
                                                                            Date
                                                                                    MM! DD /   YYYY




    Official Form 106Dec                                      Declaration About an Individual Debtor's Schedules
                 Case 21-51887-pwb                    Doc 1        Filed 03/08/21 Entered 03/08/21 11:48:21                             Desc P
                                                                        Page 53 of 57
 Fill in this information to identify your case:                                                      Check one box only as directed in this form and in
                                                                                                      Form 122A-1Supp:
 Debtor 1         BRIAN MORRISON
                    First Name                Middle Name               Last Name
                                                                                                     O 1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name               Middle Name               Last Name                    O 2. The calculation to determine if a presumption of
                                                                                                          abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the:                                                                  Means Test Calculation (Official Form 122A-2).
                                              Northern District of Georgia
 Case number                                                                                         O 3. The Means Test does not apply now because of
 (If known)                                                                                               qualified military service but it could apply later.


                                                                                                     U Check if this is an amended filing



Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                           04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.



pm                 Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
        O Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

        O Married and your spouse is NOT filing with you. You and your spouse are:

                     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

                     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                     under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                     spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A           Column B
                                                                                                        Debtor 1            Debtor 2 or
                                                                                                                            non-filing spouse

   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
        (before all payroll deductions).                                                                 $ 3.264.41          $
   3. Alimony and maintenance payments. Do not include payments from a spouse if
        Column B is filled in.
   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
        from an unmarried partner, members of your household, your dependents, parents,
        and roommates. Include regular contributions from a spouse only if Column B is not
        filled in. Do not include payments you listed on line 3.
   5. Net income from operating a business, profession,
      or farm
        Gross receipts (before all deductions)
        Ordinary and necessary operating expenses                      — $          —$
                                                                                               Copy
        Net monthly income from a business, profession, or farm                                here+

   6. Net income from rental and other real property                    Debtor 1    Debtor 2
        Gross receipts (before all deductions)
        Ordinary and necessary operating expenses                      — $          —$
                                                                                               Copy
        Net monthly income from rental or other real property                                  here4     $
   7. Interest, dividends, and royalties



Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income                                                 page 1
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Debtor 1        BRIAN MORRISON                                                                Case number (if known)
                First Name    Middle Name        Last Name



                                                                                                  Column A                 Column B
                                                                                                  Debtor 1                 Debtor 2 or
                                                                                                                           non-filing spouse

   8. Unemployment compensation
      Do not enter the amount if you contend that the amount received was a benefit
      under the Social Security Act. Instead, list it here:
            For you
            For your spouse
   9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act. Also, except as stated in the next sentence, do
       not include any compensation, pension, pay, annuity, or allowance paid by the
       United States Government in connection with a disability, combat-related injury or
       disability, or death of a member of the uniformed services. If you received any retired
       pay paid under chapter 61 of title 10, then include that pay only to the extent that it
       does not exceed the amount of retired pay to which you would otherwise be entitled if
       retired under any provision of title 10 other than chapter 61 of that title.
   10. Income from all other sources not listed above. Specify the source and amount. Do
       not include any benefits received under the Social Security Act; payments made under
       the Federal law relating to the national emergency declared by the President under the
       National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
       disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
       against humanity, or international or domestic terrorism; or compensation, pension,
       pay, annuity, or allowance paid by the United States Government in connection with a
       disability, combat-related injury or disability, or death of a member of the uniformed
       services. If necessary, list other sources on a separate page and put the total below.




           Total amounts from separate pages, if any.

   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                            $ 3,264.41              $                     $3,264.41
                                                                                                                                                Total current
                                                                                                                                                monthly income

   Part 2:       Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11.                                                       Copy line 11 here+   I_ _$--32 264 41i

                Multiply by 12 (the number of months in a year).                                                                               x 12
       12b. The result is your annual income for this part of the form.                                                               12b. I   $       39.173

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                        IGeorgia


       Fill in the number of people in your household.             I2

       Fill in the median family income for your state and size of household.                                                         13.      $      67,463
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk's office.


   14. How do the lines compare?


      14a.id Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
             Go to Part 3. Do NOT fill out or file Official Form 122A-2



       14b.U      Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                  Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                   page 2
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                                                                    Page 55 of 57

Debtor 1     BRIAN MORRISON                                                                     Case number Of known)
             First Name       Middle Name        Last Name



               Sign Below

                           here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



                              ( Li
                     gnature of Debtor 1                                                       Signature of Debtor 2

                   Date   3
                          MM! DD
                                 E /-2L)(24
                                     YYYY
                                                                                               Date
                                                                                                      MM! DD / YYYY

                   If you checked line 14a, do NOT fill out or file Form 122A-2.
                   If you checked line 14b, fill out Form 122A-2 and file it with this form.




           Print                            Save As,..               Add Attachment                                                            eset,




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                 page 3
  Case 21-51887-pwb         Doc 1   Filed 03/08/21 Entered 03/08/21 11:48:21   Desc P
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U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01264183 (0J) OF 03/08/2021


ITEM     CODE   CASE             QUANTITY                       AMOUNT   BY

   1       7N   21-51887                1                     $ 338.00   Currency
                Judge -    unknown at time of receipt
                Debtor -   BRIAN MORRISON
   2       FO   21-51887                1                       $ 2.00   Currency
                Judge -    unknown at time of receipt
                Debtor -   BRIAN MORRISON


TOTAL:                                                        $ 340.00


FROM: Brian Morrison
      795 Hiram Davis Rd
      Lawaranceville, GA 30045




                                      Page 1 of 1
                   Case 21-51887-pwb                  Doc 1        Filed 03/08/21 Entered 03/08/21 11:48:21                                Desc P
                                                                        Page 57 of 57
     Case Number: 21-51887                                                  Name: Morrison                                                  Chapter: 7

-- Please submit the following original—clocuments to the Court for filing so that the case will proceed timely. If you would-like to have a filed-
  stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

  El Individual - Series 100 Forms                                                               El Non-Individual - Series 200 Forms

   MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                           Petition Deficiencies:
   Z Complete List of Creditors (names and addresses of all creditors)                           CI Last 4 digits of SSN
   CI Pro Se Affidavit (due within 7 days, signature must be notarized,                          CI Address CI County
   or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                           CI Type of Debtor
   CI Signed Statement of SSN (due within 7 days)                                                O Chapter
                                                                                                 CI Nature of Debts
     MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                        CI Statistical Estimates
     CI Statement of Financial Affairs                                                           O Venue
     • Schedules: G H J                                                                          CI Attorney Bar Number
     CI Summary of Assets and Liabilities
     O Declaration About Debtor(s) Schedules                                                                   Case filed via:
     CI Attorney Disclosure of Compensation                                                 Z Intake Counter by:
     LI Petition Preparer's Notice, Declaration and Signature (Form 119)                        CI Attorney
     CI Disclosure of Compensation of Petition Preparer (Form 2800)                             Z Debtor - verified ID
     CI Chapter 13 Current Monthly Income                                                       CI Other - copy of ID: (770) 656-4575
     CI Chapter 7 Current Monthly Income
     CI Chapter 11 Current Monthly Income                                                   CI Mailed by:
     O Certificate of Credit Counseling (Individuals only)                                      CI Attorney
     El Pay Advices (Individuals only) (2 Months)                                               CI Debtor
     O Chapter 13 Plan, complete with signatures (local form)                                   CI Other:
     CI Corporate Resolution (Business Ch. 7 & 11)
                                                                                            CI Email [Pursuant to General Order 40-2020, this
     Ch.11 Business                                                                         petition was received for filing via email]
     CI 20 Largest Unsecured Creditors
     El List of Equity Security Holders                                                                History of Case Association
     D Small Business - Balance Sheet                                                       Prior cases within 2 years: None.
     CI Small Business - Statement of Operations
     CI Small Business - Cash Flow Statement
     CI Small Business - Federal Tax Returns                                                 igrfa
                                                                                            Acknowledgment of rec ipt of Deficiency Notice
     MISSING DOCUMENTS DUE WITHIN 30 DAYS
       Statement of Intent — Ch. 7 (Individuals only)

           Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
  attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.goviservices-forms/bankruptcy/filing-
  without-attorney.

  FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
  Online Payment for Filing Fee https://www.ganb.uscourts.govionline-payments (not for chapter 13 plan payments)
          M Paid $ 338.00     El 2g-Order Granting El 3g-Order Granting 10-day finitial payment of $                   due within 10 days)
            El 2d-Order Denying with filing fee of $_____ due within 10 days El IFP filed (Ch.7 Individuals Only)
            CI No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                     You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only) to the address below.
                                All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                        **Failure to Comply may result in the dismissal of your case.**
                                                       UNITED STATES BANKRUPTCY COURT
                                                         75 Ted Turner Drive, SW, Room 1340
                                                                Atlanta, Georgia 30303
                                                                    404-215-1000
   Intake Clerk:                      Date: 3/8/21                       Case Opener:                                         Date:
